         Case 2:19-cv-05030-JDW Document 162 Filed 10/28/21 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LISA BARBOUNIS,
                                                 Case No. 2:19-cv-05030-JDW
               Plaintiff,

        v.

THE MIDDLE EAST FORUM, et al.,

               Defendants.

                                            ORDER

       AND NOW, this 28th day of October, 2021, upon consideration of the Parties’ request for

an extension of the deadline to file their Responses to the pending Motions In Limine (ECF Nos.

151, 152, 153, 154, and 155), it is ORDERED that Responses to the pending Motions In Limine

shall be filed on or before November 3, 2021.

                                                  BY THE COURT:


                                                  /s/ Joshua D. Wolson
                                                  JOSHUA D. WOLSON, J.
